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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CLEVELAND JOHNSON,            )              ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


            Pursuant to the memorandum opinion entered herein this

date,

            IT IS ORDERED that Johnson’s Motion under the

Provisions of Rule 60(b) “Void Judgment” (Filing No. 1169) is

denied.


            DATED this 21st day of March, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
